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 9   LIT Distribution, Inc.
10                                  UNITED STATES DISTRICT COURT
11       CENTRAL DISTRICT OF CALIFORNIA—EASTERN (RIVERSIDE) DIVISION
12   ROSE ML, INC., a California                 Case No. 8:19-cv-01893 SHK
     corporation,
13
14                    Plaintiff                  [PROPOSED] ORDER ON
                                                 STIPULATION FOR DISMISSAL OF
15            v.                                 ENTIRE ACTION WITH PREJUDICE

16   LIT DISTRIBUTION, INC., an                  [Filed concurrently with Stipulation]
     Illinois corporation, and DOES 1 to
17   100, inclusive,                             Magistrate Judge:
                                                           Shashi H. Kewalramani
18                    Defendants.

19                                               Complaint Filed: October 1, 2019

20
21
22            Pursuant to the Parties’ stipulation, IT IS HEREBY ORDERED that this matter shall be
23   dismissed with prejudice against all parties. Each party is to bear its own attorneys’ fees and
24   costs.
25
                   12/1/2021
26   DATED:                                           _________________________________
                                                      HON. SHASHI H. KEWALRAMANI
27                                                    UNITED STATES MAGISTRATE JUDGE

28
                                                                     CASE NO. 8:19-cv-01893
        [PROPOSED] ORDER ON STIPULATION FOR DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
                                            Page 1
